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 1                                UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:11-cr-00434-LDG-PAL-9
 4
                     Plaintiff,                          ORDER FOR PLACEMENT IN THE
 5                                                       SOBER LIVING FACILITY
              v.
 6
     CHRISTOPHER CASTRO,
 7
                     Defendant.
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              Presently before the Court is the matter of U.S. v. Christopher Castro.
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              On November 20, 2017, this Court held a hearing for revocation of supervised release
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     as to defendant Christopher Castro (“Mr. Castro”). The Court ordered that Mr. Castro’s
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     conditions of supervision be modified as noted on the record. This order included, amongst
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     other modifications, that he reside at and participate in programming at a sober living facility
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     for three months (90 days).
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              IT IS HEREBY ORDERED, ADJUDGED AND DECREED that defendant Mr. Castro
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     is ordered released from custody and shall reside in a sober living facility for three months (90
17
     days).
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              DATED: November 20, 2017
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                                                       RICHARD F. BOULWARE, II
22                                                     UNITED STATES DISTRICT JUDGE

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